                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION

 Donald J. Trump, Candidate for President                        )
 of the United States of America,                                )
                                                                 )
                                                                 )
                Plaintiff,                                       )
                                                                 )
 vs.                                                             ) Case No.
                                                                 ) ____________________
                                                                 )
 The Wisconsin Elections Commission, and its                     )
 members, Ann S. Jacobs, Mark L. Thomsen,                        )
 Marge Bostelman, Dean Knudson, Robert F.                        )
 Spindell, Jr., in their official capacities, Scott              )
 McDonnell in his official capacity as the Dane                  )
 County Clerk, George L. Christenson in his                      )
 official capacity as the Milwaukee County Clerk,                )
 Julietta Henry in her official capacity as the                  )
 Milwaukee Election Director, Claire Woodall-                    )
 Vogg in her official capacity as the Executive                  )
 Director of the Milwaukee Election Commission,                  )
 Mayor Tom Barrett, Jim Owczarski, Mayor Satya                   )
 Rhodes-Conway, Maribeth Witzel-Behl, Mayor                      )
 Cory Mason, Tara Coolidge, Mayor John                           )
 Antaramian, Matt Krauter, Mayor Eric Genrich,                   )
 Kris Teske, in their official Capacities; Douglas J.            )
 La Follette, Wisconsin Secretary of State, in his               )
 official capacity, and Tony Evers, Governor of                  )
 Wisconsin, in his Official capacity.                            )
                                                                 )
                                                                 )
                Defendants.


                  PLAINTIFF’S LOCAL RULE 7(A)(2) CERTIFICATION

       Pursuant to Civil L. R 7(a)(2), with respect to Plaintiff’s Motion for Expedited

Declaratory and Injunctive Relief and for Expedited Hearing on the Motion for Expedited

Declaratory and Injunctive Relief, filed contemporaneously with this certification, Plaintiff states

that no memorandum or other supporting papers will be filed and that he will instead rely on the




          Case 2:20-cv-01785-BHL Filed 12/02/20 Page 1 of 2 Document 7
substance of the Complaint, the exhibits attached thereto and such other evidence which may be

adduced at the hearing or identified in any reply brief or subsequent pleading.

                                             Respectfully Submitted,

                                             KROGER, GARDIS & REGAS, LLP


                                             /s/ William Bock, III
                                             William Bock III, Indiana Attorney No. 14777-49
                                             James A. Knauer, Indiana Attorney No. 5436-49
                                             Kevin D. Koons, Indiana Attorney No. 27915-49

                                             ATTORNEYS FOR PLAINTIFF DONALD J. TRUMP


KROGER, GARDIS & REGAS, LLP
111 Monument Circle, Suite 900
Indianapolis, IN 46204
Phone: (317) 692-9000




                                                2

          Case 2:20-cv-01785-BHL Filed 12/02/20 Page 2 of 2 Document 7
